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                 EXHIBIT 1
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                                                                                    Page 1
               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
                      SAN FRANCISCO DIVISION
         ______________________________
         RICHARD KADREY, et al.,       )      Case No.
         Individual and Representative )
                                       )
                 Plaintiffs,           ) 3:23-cv-03417-VC
                                       )
              - against -              )
                                       )
         META PLATFORMS, Inc.,         )
                                       )
                  Defendant.           )
         ______________________________)

          * * H I G H L Y  C O NF I D E N T I A L                               * *
         * * A T T O R N E Y S' E Y E S O N L Y                               * *

                         VIDEO-RECORDED DEPOSITION
                                    OF
                          ELEONORA PRESANI, Ph.D.
                            September 26, 2024

         Reported Stenographically by:
         ANNETTE ARLEQUIN, CCR/CSR, RPR, CRR, RSA

         ______________________________________________________
                        DIGITAL EVIDENCE GROUP
                     1730 M Street, NW, Suite 812
                        Washington, D.C. 20036
                            (202) 232-0646


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                                                                                   Page 10
   1                  A.        It's 1839 21st Road, Astoria, New

   2        York.

   3                  Q.        Great.       Thank you.

   4                            Have you had your deposition taken

   5        before?

   6                  A.        No.

   7                  Q.        And where are you presently

   8        employed?

   9                  A.        At Meta.

 10                   Q.        And what is your title at Meta?

 11                   A.        Program manager.

 12                   Q.        Is there a specific department or

 13         division you work for at Meta?

 14                   A.        Currently?

 15                   Q.        Yes, currently.

 16                   A.        I work for the organization called

 17         gen AI, for generative AI.

 18                   Q.        Is there a specific division within

 19         the generative AI organization that you work for?

 20                   A.        I move a little bit around.                     Mostly

 21         in the recent months I've been with the trust and

 22         safety.



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                                                                                   Page 64
   1        services, right?

   2                            MS. DUNNING:           Object to the form.

   3                  A.        No, I just mean that they are

   4        different from the work that I was doing when I

   5        was at FAIR.

   6                  Q.        So, like, for example, I believe

   7        Instagram recently released an influencer-type

   8        chatbot.

   9                            Were you involved in that program?

 10                   A.        No, I wasn't.

 11                   Q.        But would that be the type of work

 12         that you would be doing or might be involved in?

 13                             MS. DUNNING:           Object to the form.

 14                   A.        I'm not doing that.               Yeah.

 15                   Q.        Now as part of your responsibilities

 16         at Meta, is it part of your role to evaluate

 17         datasets that Meta is using to develop its

 18         generative AI models?

 19                             MS. DUNNING:           Object to the form.

 20                   A.        No, it's not.

 21                   Q.        Do you have any input in the

 22         datasets that Meta is using to develop its LLMs?



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                                                                                   Page 65
   1                  A.        No.

   2                  Q.        Do you have any approval power over

   3        any of the datasets that Meta -- strike that.

   4                            Do you have any approval power over

   5        which datasets are being used to train LLMs?

   6                            MS. DUNNING:           Object to the form.

   7                  A.        No, I don't.

   8                  Q.        Has anyone ever come to you for

   9        approval about the use of any specific datasets

 10         for use in any of Meta's LLMs?

 11                   A.        No.

 12                   Q.        So generally at what stage of the

 13         lifecycle of the development of an LLM do you get

 14         involved?

 15                             MS. DUNNING:           Object to the form.

 16                   A.        Are you talking now or a different

 17         time?

 18                   Q.        Yeah, let's talk about now.

 19                   A.        There isn't really a standard.                       It

 20         depends on the project, when usually it's the

 21         project leader that requests program manager

 22         support.



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                                                                                 Page 179
   1        had with Mr. Martinet?

   2                  A.        No, not the only one.

   3                  Q.        Do you remember approximately how

   4        many exchanges you've had with Mr. Martinet?

   5                  A.        I cannot really say a number, but I

   6        think we had sporadic contacts for maybe a couple

   7        of months.

   8                  Q.




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                                                                                 Page 219
   1        much, but it's possible, I guess.

   2




 10                   Q.        Do you know if any similar

 11         discussions about -- strike that.

 12                             Do you know if there were any

 13         discussions involving you about using the dataset

 14         known as Books3 for training any Meta models?

 15         That did not involve lawyers?

 16                   A.        I don't remember, but it's possible.

 17                             MS. DUNNING:           Counsel, we've been

 18               going an hour and a half.                  If you're going to

 19               move on to Books3, I think we may need to

 20               take a break.

 21                             MR. YOUNG:         I actually think I'm

 22               about to -- well, I got a couple more



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                                                                                 Page 222
   1        were talking about Books3.

   2                            Do you remember that?

   3                  A.        I remember you brought it up, yes.

   4                  Q.        Do you know what Books3 is?

   5                  A.        Not specifically.

   6                  Q.        Do you understand it to be a

   7        database?

   8                  A.        I thought it was a dataset, to be

   9        honest.

 10                   Q.        A dataset that was used to train

 11         Meta's models?

 12                             MS. DUNNING:           Object to the form.

 13                   A.        I don't know.

 14                   Q.        Was today the first time you ever

 15         heard about Books3?

 16                   A.        No.

 17                   Q.        How -- well, never mind.

 18                             Let me rephrase that.

 19                             Without discussing any

 20         communications you may have had with lawyers, how

 21         did you first come to know about the dataset

 22         known as Books3?



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                                                                                 Page 223
   1                            MS. DUNNING:           Object to the form.

   2                  A.        I wouldn't say that I got to know

   3        about it, but I heard -- I heard that -- it being

   4        mentioned in various context, within FAIR

   5        especially.

   6                  Q.        Have you ever examined what is

   7        contained in Books3?

   8                  A.        No.

   9                  Q.        Do you have an understanding of what

 10         is contained in Books3?

 11                   A.        No.

 12                   Q.        Have you ever had any discussions

 13         with anyone at Meta who is not a lawyer about

 14         Books3?

 15                   A.        I don't remember having

 16         conversations specifically about that.




 21                   Q.        Do you know an individual named

 22         Nikolay Bashlykov?



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                                                                                 Page 226
   1        we've been discussing, does -- to the best of

   2        your understanding, did any of the discussion in

   3        this message chain refer to a Llama model?

   4                  A.        No.     That was before Llama was even

   5        existing.

   6                            MR. YOUNG:         Objection to form.

   7        BY MS. DUNNING:

   8                  Q.        To your understanding, did any of

   9        the discussion in Exhibit 38 pertain to Meta AI?

 10                   A.        Oh, no.

 11                             MR. YOUNG:         Objection to form.

 12         BY MS. DUNNING:

 13                   Q.        I'm reading from line 217:12 of the

 14         LiveNote.




 21                             Do you know whether you have

 22               communicated with anyone within Meta about



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                                                                                 Page 227


   2                            MR. YOUNG:         Objection.            Form.

   3                  A.        I remember having conversations

   4        about it.        I don't remember the medium we used.

   5                  Q.        Who were those conversations with?

   6                  A.        With Melanie Kambadur.




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                                                                                 Page 228




                                                                    I was never

 21         involved in any conversation around the training

 22         for Llama.



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                                                                                 Page 233
   1                            C E R T I F I C A T E

   2        STATE OF NEW YORK                     )

   3                                  : ss.

   4        COUNTY OF NEW YORK                    )

   5                            I, ANNETTE ARLEQUIN, a Notary Public

   6               within and for the State of New York, do

   7               hereby certify:

   8                            That ELEONORA PRESANI, Ph.D., whose

   9               deposition is hereinbefore set forth, was

 10                duly sworn by me, and that the transcript of

 11                such depositions is a true record of the

 12                testimony given by such witness.

 13                             I further certify that I am not

 14                related to any of the parties to this action

 15                by blood or marriage; and that I am in no

 16                way interested in the outcome of this

 17                matter.

 18                             IN WITNESS WHEREOF, I have hereunto

 19                set my hand this 27th day of September 2024.

 20

 21

                           ___________________________________

 22                     ANNETTE ARLEQUIN, CCR #30XI00145000



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